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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                    Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.,1                                               Case No. 23-10961

             Debtors.                                               (Joint Administration Requested)



       DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM AND FINAL
        ORDERS (I) AUTHORIZING CONTINUED USE OF PREPETITION BANK
       ACCOUNTS, CASH MANAGEMENT SYSTEM, FORMS, AND BOOKS AND
                RECORDS AND (II) GRANTING RELATED RELIEF

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this Emergency Motion for Entry of Interim and Final Orders (I) Authorizing Continued Use of

Prepetition Bank Accounts, Cash Management System, Forms, and Books and Records and (II)

Granting Related Relief (the “Motion”). In support of this Motion, the Debtors respectfully

represent as follows:

                                            JURISDICTION AND VENUE

          1.        This Court has jurisdiction over these cases and this matter pursuant to 28 U.S.C.

§§ 157 and 1334.

          2.        This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A).

          3.        Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409(a).




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.



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         4.     The bases for the relief requested herein are sections 105(a), 363, 1107, and 1108

of title 11 of the United States Code (the “Bankruptcy Code”), Rules 6003 and 6004 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2015-2 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”).

         5.     Pursuant to Rule 9013-1(f) Local Rules, the Debtors consent to the entry of a final

judgment or order with respect to this Motion if it is determined that this Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                                        BACKGROUND

         6.     On the date hereof (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United

States Bankruptcy Court for the District of Delaware (the “Court”). The Debtors have continued

in possession of their properties and have continued to operate and manage their business as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request

has been made for the appointment of a trustee or examiner, and no official committee of

unsecured creditors has been appointed in any of these cases.

         7.     The factual background relating to the Debtors’ commencement of these cases is

set forth in detail in the Declaration of Tracy Pagliara in Support of Chapter 11 Petitions and

First Day Pleadings (the “First Day Declaration”) filed on the Petition Date and incorporated

herein by reference.




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    A.        The Debtors’ Accounts, Forms, Records and Cash Management System

         8.      The Debtors use a cash management system (the “Cash Management System”) in

the ordinary course of business which permits the efficient collection and application of funds.

Prior to the commencement of these chapter 11 cases, and in the ordinary course of business, the

Debtors maintained 25 bank accounts (collectively, the “Bank Accounts”). A list of the Bank

Accounts is attached hereto as Exhibit A. The Debtors’ Cash Management System is primarily

maintained at PNC Bank, Two Tower Center Blvd, 17th Floor, East Brunswick, NJ 08816 (“PNC

Bank”).

         9.      A summary of the Debtors’ Cash Management System and the Bank Accounts

maintained by the Debtors at PNC Bank is contained below:

              (a) Williams Industrial Services Group, LLC (“WISG”) maintains a Master Funding
                  Account, the purpose of which is to receive funds advanced by PNC Bank pursuant
                  to the Debtors’ Revolving Credit Agreement. Funds are transferred from the Master
                  Funding Account to the Concentration Account maintained by Holdings.

              (b) Williams Specialty Services, LLC (“WSS”), Williams Plant Services, LLC
                  (“WPS”), and Williams Industrial Services, LLC (“WIS”) each maintain separate
                  Collections Accounts, the purpose of which is to receive customer payments. Funds
                  received in the Collection Accounts are swept daily and remitted to PNC Bank for
                  application against the outstanding balance due under the Debtors’ Revolving
                  Credit Agreement.

              (c) Williams Industrial Services Group, Inc. (“Holdings”) maintains a Concentration
                  Account, the purpose of which is to receive funds from the Master Funding Account
                  for transfer to the Accounts Payable Disbursement Accounts and Payroll Accounts
                  as needed.

              (d) Holdings, WISG, WSS, WPS, WIS, Construction & Maintenance Professionals,
                  LLC (“CMP”), and WISG Electrical, LLC (“Electrical”) each maintain separate
                  Accounts Payable Disbursement Accounts. These Accounts are zero balance
                  accounts, the purpose of which is to fund disbursements to satisfy accounts payable.
                  Funds are transferred to these Accounts from the Concentration Account as needed.

              (e) Holdings, WISG, WSS, WPS, WIS, CMP, and Electrical each maintain separate
                  Payroll Accounts. These are zero balance accounts, the purpose of which is to fund
                  payroll and related payroll tax obligations. Funds are transferred to these Accounts


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                  from the Concentration Account prior to payroll disbursement on Tuesday
                  mornings.

               (f) Holdings and Steam Enterprises, LLC (“Steam”) each maintain separate Operating
                   Accounts, which are required by Minnesota state law to fund captive state-run
                   workers’ compensation programs in that state related to potential asbestos
                   liabilities.

               (g) WIS and WPS each maintain separate accounts designated to hold segregated,
                   bonded accounts receivable.

         10.      Additionally, WISG Canada Ltd. maintains one general purpose Bank Account at

TD Bank, N.A (“TD Bank”).

         11.      Finally, the Debtors utilize payment processing and other services provided by PNC

Merchant Services Company (“PNC Merchant Services” and together with PNC Bank and TD

bank, the “Cash Management Banks”).

         12.      The Debtors’ existing Bank Accounts function smoothly and permit the efficient

collections and disbursements of cash for the benefit of the Debtors and all parties in interest. The

Debtors’ transition into chapter 11 will be significantly less disruptive if the Bank Accounts are

maintained following the commencement of these cases with the same account numbers and,

where applicable, automated relationship. The Debtors further request authority to deposit funds

in and withdraw funds from all such accounts post-petition, subject to the same access rights and

limitations existing prior to the Petition Date, including, but not limited to, check, wire, transfers,

ACH, electronic funds transfers and other debits and to treat the Bank Accounts for all purposes

as debtors in possession accounts.

    B.         Bank Fees

         13.      In the ordinary course of business, the Debtors incur periodic service charges and

other fees in connection with maintaining the cash management system (collectively, the “Bank

Fees”). The Debtors estimate that they owe approximately $18,000.00 in unpaid Bank Fees as of


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the Petition Date. By this Motion, the Debtors seek the authority to continue to pay the Bank Fees,

including the prepetition Bank Fees, in the ordinary course of business on a post-petition basis.

    C.         Existing Business Forms and Checks

         14.      In the ordinary course of business, the Debtors maintain blank check stock and use

a system, which is pre-programmed by a third party, to print the Debtors’ names thereon. In

addition, the Debtors maintain pre-printed correspondence and business forms, including, but not

limited to, letterhead, envelopes, promotional materials and other business forms (collectively,

along with the Debtors’ checks, the “Business Forms”). To minimize administrative expense and

delay, Local Rule 2015-2(a), the Debtors request authority to continue to use the Business Forms

substantially in the forms existing immediately prior to the Petition Date, without reference to each

Debtor’s “Debtor in Possession” status.

    D.         Requested Waiver of Certain U.S. Trustee Guidelines

         15.      The Office of the U.S. Trustee (the “U.S. Trustee”) has established the Operating

Guidelines and Reporting Requirements for Debtors in Possession and Chapter 11 Trustees (the

“Guidelines”) to supervise the administration of chapter 11 cases and prevent post-petition

payments for prepetition claims. The Guidelines require a chapter 11 debtor to, among other

things: (i) close its existing books, records and bank accounts, and open new post-petition books,

records and bank accounts (which must bear debtor in possession labels, and must be opened at

banks approved by the U.S. Trustee); (ii) establish separate bank accounts for operations, payment

of taxes, cash collateral and payroll (to the extent that the debtor had a separate payroll account

prepetition); and (iii) obtain new checks bearing the designation “Debtor in Possession,” along

with additional information. The Debtors submit that compliance with these requirements would

create substantial and unnecessary administrative burdens. Requiring the Debtors to open new



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bank accounts and alter their cash management system would impose unnecessary expense,

confusion, and diversion of scarce time and personnel, and would hinder the efficient use of the

Debtors’ resources at the critical first days of these cases. On the other hand, permitting the Debtors

to maintain their existing bank accounts and existing cash management system (or to make only

such changes as are appropriate in the ordinary course of business) will prevent disruption of the

Debtors’ operations and will not prejudice any party in interest. The Debtors’ existing procedures,

along with additional safeguards proposed herein, adequately address the concerns that underlie

the Guidelines. The Debtors have in place sophisticated, computerized record keeping systems and

will be able to ensure that all prepetition and post-petition transactions are properly accounted for

and can easily be distinguished. The Debtors will continue to maintain complete and accurate

records of all transfers of funds in and out of the Debtors’ bank accounts.

         16.   Based on the foregoing, the Debtors seek the following specific relief with respect

to their books and records, cash management system, and business forms:

    (a) a waiver of the requirement that the Debtors’ prepetition bank accounts be closed and new
        post-petition bank accounts be opened;

    (b) approval to maintain and continue to use without change in account style their existing
        bank accounts;

    (c) approval to maintain and continue to use their existing Cash Management System;

    (d) authority to continue to pay the Bank Fees, including prepetition Bank Fees, in the ordinary
        course of business;

    (e) approval to use, in their present form, existing checks and other business forms related to
        the Debtors’ bank accounts; provided, however, that upon depletion of the Debtors’ current
        supply of such checks and forms, each Debtor will have the debtor in possession
        nomenclature added to such checks and forms in accordance with the Local Rules;

    (f) approval to use the Debtors’ existing books and records with appropriate notations to
        reflect the filing of the chapter 11 petitions; and

    (g) entry of an order authorizing the banks at which the Debtors have bank accounts to
        maintain and administer the Debtors’ bank accounts in accordance with the contracts

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         entered into between the Debtors and such banks before the filing of the Debtors’ chapter
         11 petitions and otherwise in accordance with past practice, and enjoining such banks from
         freezing or otherwise impeding the Debtors’ bank accounts; provided, however, that such
         banks shall not honor any checks issued on such bank accounts on a date prior to the
         commencement of these chapter 11 cases and presented for payment to the banks
         postpetition unless otherwise authorized to do so by order of this Court.

                                      RELIEF REQUESTED

         14.      By this Motion, the Debtors request entry of an order substantially in the form of

the interim and final proposed orders attached hereto as Exhibit B and Exhibit C respectively: (a)

authorizing the maintenance of Bank Accounts and continued use of existing Business Forms; (b)

authorizing, but not directing, continued use of the Cash Management System; (c) waiving certain

Guidelines set forth by the U.S. Trustee; and (d) granting related relief.

                                BASIS FOR RELIEF REQUESTED

  I.           Approval to Maintain the Status Quo is Routinely Granted Under Bankruptcy
               Code Sections 105 and 363

         15.      Bankruptcy Code section 105(a) authorizes the Court to issue “any order, process,

or judgment that is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].”

11 U.S.C. § 105(a). Section 105(a) is intended “to assure the bankruptcy courts[’] power to take

whatever action is appropriate or necessary in aid of the exercise of its jurisdiction.” 2-105

COLLIER ON BANKRUPTCY ¶ 105.01 (15th ed. 2015). The relief requested in this Motion is

necessary to preserve business continuity and to lessen the likelihood of disruption to the Debtors’

operations, and is in the best interests of the Debtors’ creditors. The Debtors respectfully submit

that relief under section 105(a) is warranted under these circumstances. The bankruptcy court in

In re Columbia Gas Sys., Inc. explained that a centralized cash management system “allows

efficient utilization of cash resources and recognizes the impracticabilities of maintaining separate

cash accounts for the many different purposes that require cash.” 136 B.R. 930, 934 (Bankr. D.

Del. 1993), aff’d in part and rev’d in part, 997 F.2d 1039 (3d Cir. 1993). The Third Circuit agreed,

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emphasizing that a requirement to maintain all accounts separately “would be a huge

administrative burden and economically inefficient.” Columbia Gas, 997 F.2d at 1061; see also In

re Southmark Corp., 49 F.3d 111, 114 (5th Cir. 1995) (cash management system allows debtor “to

administer more efficiently and effectively its financial operations and assets”); In re UNR Indus.,

Inc., 46 B.R. 25, 27 (Bankr. N.D. Ill. 1984).

         16.   Additionally, section 363(c)(1) of the Bankruptcy Code authorizes a debtor to “use

property of the estate in the ordinary course of business without notice or a hearing.” 11 U.S.C.

§ 363(c)(1). Section 363(c)(1) extends to a debtor’s continued use of its customary cash

management system and, thus, supports the relief requested herein. See, e.g., Amdura Nat’l Distrib.

Co. v. Amdura Corp. (In re Amdura Corp.), 75 F.3d 1447, 1453 (10th Cir. 1996); Charter Co. v.

Prudential Ins. Co. Am. (In re Charter Co.), 778 F.2d 617, 621 (11th Cir. 1985) (indicating that

an order authorizing the debtor to employ a cash management system that was “usual and

customary in the past” was “entirely consistent” with section 363(c)(1)).

         17.   Accordingly, bankruptcy courts routinely grant debtors authority to continue

utilizing existing cash management systems and treat requests for such authority as a relatively

“simple matter.” In re Baldwin-United Corp., 79 B.R. 321, 327 (Bankr. S.D. Ohio 1987); see

Charter Co. v. Prudential Ins. Co. of Am. (In re Charter Co.), 778 F.2d 617, 621 (11th Cir. 1985)

(holding that allowing debtors to use their prepetition “routine cash management system” was

entirely consistent with Bankruptcy Code). Courts in this circuit have recognized that allowing a

debtor to maintain existing cash management systems is often appropriate. See, e.g., In re Genesis

Health Ventures, Inc., 402 F.3d 416, 424 (3d Cir. 2005); In re Kindred Healthcare, Inc., No. 99-

3199, 2003 Bankr. LEXIS 1308, at *2 (Bankr. D. Del, Oct. 9, 2003) (noting Court had previously

granted motion to continue use of debtor’s existing cash management system); Columbia Gas, 997



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F.2d at 1061 (recognizing that requirement to maintain all accounts separately “would be a huge

administrative burden and economically inefficient”).

 II.           Opening New Accounts Will Disrupt the Debtors’ Business

         18.      The prospects for a successful sale or reorganization of the Debtors’ business, as

well as the preservation and enhancement of the Debtors’ value as a going concern, will be

materially and negatively impacted if the Cash Management System is disrupted and any Bank

Accounts are closed. Indeed, if the Debtors were required to open new accounts as debtors in

possession and modify the Cash Management System, the Debtors would be forced to reconstruct

the Cash Management System at this critical juncture when the Debtors should be otherwise

focused on their restructuring. Thus, the Debtors’ finance, accounting, and bookkeeping

employees would need to focus their efforts on immediately opening new bank accounts and

working to ensure proper controls are in place for cash to properly flow through all operations and

confirm that certain vendors are aware of new accounts related to the Debtors’ receipts, thereby

diverting them from their daily responsibilities during this critical juncture in these chapter 11

cases. Opening new bank accounts would increase operating costs, and the delays that would result

from opening new accounts, revising cash management procedures, and instructing certain vendors

to redirect payments would negatively impact the Debtors’ ability to operate their business while

pursuing these arrangements.

         19.      In addition, the Debtors would be subject to significant administrative burdens and

expenses because they would need to execute new signatory cards and depository agreements and

create an entirely new manual system for issuing checks and paying post-petition obligations, all

as generally would be required by the U.S. Trustee Guidelines.




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III.           The Debtors Should Be Granted Authority to Use Existing Business Forms

         20.      The Debtors submit that the continued use of existing Business Forms will not

prejudice parties in interest and such relief will avoid unnecessary expenses and administrative

delays at this critical time. Furthermore, the Debtors’ requested relief will not prejudice parties in

interest because parties doing business with the Debtors undoubtedly will know of the Debtors’

status as debtors in possession. Thus, changing of existing Business Forms is unnecessary and

unduly burdensome. Nevertheless, consistent with Local Rule 2015-2, once the existing Business

Forms have been used, the Debtors shall, during the pendency of these chapter 11 cases, reorder

new Business Forms that include a stamp to reference the Debtors’ status as debtors in possession

and the corresponding bankruptcy case number.

                                EMERGENCY CONSIDERATION

         21.      The Debtors respectfully request emergency consideration of this Motion pursuant

to Bankruptcy Rule 6003, which empowers a court to grant relief within the first 21 days after the

commencement of a chapter 11 case “to the extent that relief is necessary to avoid immediate and

irreparable harm.” Here, the Debtors believe an immediate and orderly transition into chapter 11

is critical to the viability of their operations and that any delay in granting the relief requested

could hinder the Debtors’ operations and cause irreparable harm. Furthermore, the failure to

receive the requested relief during the first 21 days of these chapter 11 cases would severely disrupt

the Debtors’ operations at this critical juncture. Accordingly, the Debtors submit that they have

satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 and, therefore,

respectfully request that the Court approve the relief requested in this Motion on an emergency

basis.




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                            WAIVER OF ANY APPLICABLE STAY

         22.    The Debtors seek a waiver of any stay of the effectiveness of the order granting this

Motion. Pursuant to Bankruptcy Rule 6004(h), any “order authorizing the use, sale, or lease of

property other than cash collateral is stayed until the expiration of 14 days after entry of the order,

unless the court orders otherwise.” The Debtors submit that the relief requested in this Motion is

necessary to avoid immediate and irreparable harm to the Debtors for the reasons set forth herein.

Accordingly, the Debtors submit that ample cause exists to justify a waiver of the 14-day stay

imposed by Bankruptcy Rule 6004(h), to the extent applicable.

                                               NOTICE

         23.    The Debtors will provide notice of this Motion to: (a) the Office of the United

States Trustee for the District of Delaware; (b) the Debtors’ thirty (30) largest unsecured creditors;

(c) counsel to the administrative agents for the Debtors’ prepetition credit facilities; (d) the Internal

Revenue Service; (e) the Georgia Department of Revenue; (f) the Delaware Division of Revenue;

(g) the United States Attorney for the District of Delaware; (h) the Securities and Exchange

Commission; (h) the state attorneys general for states in which the Debtors conduct business; (i)

the Debtors’ banks as listed on Exhibit A; and (j) any party that has requested notice pursuant to

Bankruptcy Rule 2002. As the Motion is seeking “first day” relief, within two business days of

the hearing on the Motion, the Debtors will serve copies of the Motion and any order entered

respecting the Motion as required by Local Rule 9013-1(m). The Debtors submit that, in light of

the nature of the relief requested, no other or further notice need be given.

                                       NO PRIOR REQUEST

         24.    No prior request for the relief sought in the motion has been made to this or any

other court.



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                                        CONCLUSION

         WHEREFORE, the Debtors request this Court enter an interim order, substantially in the

form of Exhibit B and a final order, substantially in the form of Exhibit C, granting the relief

requested herein and such other and further relief as the Court may deem just and proper.


 Dated: July 22, 2023
 Wilmington, Delaware
                                             /s/ Mark L. Desgrosseilliers
                                            Mark L. Desgrosseilliers (No. 4083)
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                                             -and-

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                                             Austin B. Alexander (pro hac vice pending)
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                                             Proposed Counsel for Debtors




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                                           EXHIBIT A

                                                       Last Four
                                                       Digits of
  #                          Debtor                    Account #     Type of Account
   1         Williams Industrial Services Group Inc      0432      Concentration Account
   2         Williams Industrial Services Group Inc      0424              Payroll
   3         Williams Industrial Services Group Inc      0459        Accounts Payable
   4         Williams Industrial Services Group Inc      2032        Operating Account
   5         Williams Industrial Services Group LLC      1558              Payroll
   6         Williams Industrial Services Group LLC      1574      Master Funding Account
   7         Williams Industrial Services Group LLC      1566        Accounts Payable
   8            Williams Industrial Services LLC         1294       Segregated Bonded
                                                                    Accounts Receivable
   9       Williams Industrial Services LLC              1961              Payroll
  10       Williams Industrial Services LLC              1996       Collection Account
  11       Williams Industrial Services LLC              1988        Accounts Payable
  12 Construction & Maintenance Professionals LLC        1873              Payroll
  13 Construction & Maintenance Professionals LLC        1881        Accounts Payable
  14             Steam Enterprises LLC                   1902        Operating Account
  15        Williams Specialty Services LLC              1929              Payroll
  16        Williams Specialty Services LLC              1953         Payroll (Manual)
  17        Williams Specialty Services LLC              1945       Collection Account
  18        Williams Specialty Services LLC              1937        Accounts Payable
  19          Williams Plant Services LLC                2008              Payroll
  20          Williams Plant Services LLC                2016        Accounts Payable
  21          Williams Plant Services LLC                2024       Collection Account
  22          Williams Plant Services LLC                1366       Segregated Bonded
                                                                    Accounts Receivable
  23                 WISG Electrical LLC                 8686        Accounts Payable
  24                 WISG Electrical LLC                 8678              Payroll
  25                  WISG Canada Ltd                    2616              General




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                                  EXHIBIT B

                             Proposed Interim Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                    Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.,1                                               Case No. 23-10961

                                                                    (Jointly Administered)
             Debtors.
                                                                    Re: Docket No. _______


  INTERIM ORDER (I) AUTHORIZING CONTINUED USE OF PREPETITION BANK
     ACCOUNTS, CASH MANAGEMENT SYSTEM, FORMS, AND BOOKS AND
             RECORDS AND (II) GRANTING RELATED RELIEF

          This matter is before the Court on the Emergency Motion for Entry of Interim and Final

Orders (I) Authorizing Continued Use of Prepetition Bank Accounts, Cash Management System,

Forms, and Books and Records and (II) Granting Related Relief (the “Motion”) [Docket No. __]

of the above-captioned debtors and debtors in possession (collectively, the “Debtors”). The

Debtors’ existing Bank Accounts2 are listed on Exhibit 1 hereto and made a part hereof. This

Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found

that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.
2 All capitalized terms used but not defined herein shall have the meanings given them in the Motion.




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appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion, the First Day Declaration accompanying the Motion, and at

the Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

         1.       The Motion is GRANTED on an interim basis as set forth herein.

         2.       The final hearing (the “Final Hearing”) on the Motion shall be held on _________,

2023, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on _________, 2023,

and shall be served on: (i) the Debtors; (ii) (ii) proposed counsel for the Debtors, Thompson Hine

LLP, (Attn: Alan Lepene.), email: alan.lepene@thompsonhine.com and Chipman Brown Cicero

& Cole, LLP (Attn: Mark L. Desgrosseilliers), email: desgross@chipmanbrown.com; (iii) counsel

to the administrative agents for the Debtors’ prepetition credit facilities, Blank Rome LLP (Attn:

Regina        Stango   Kelbon,   Gregory    F.   Vizza),   email:   regina.kelbon@blankrome.com,

gregory.vizza@blankrome.com; (iv) counsel to any statutory committee appointed in these Cases;

and (v) the Office of the United States Trustee for the District of Delaware, (Attn: Linda

Richenderfer); email: linda.richenderfer@usdoj.gov.

         3.       The Debtors shall immediately upon entry of this Interim Order contact the Cash

Management Banks, provide the Cash Management Banks with each of the Debtors’ employer

identification numbers, and identify each of their Bank Accounts held at each of the Cash

Management Banks as being held by a debtor in possession.



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         4.    The Debtors are authorized, but not directed, on an interim basis and in their sole

discretion, to: (a) continue operating Cash Management System, (b) continue to use the Bank

Accounts in existence as of the Petition Date, in the names and with the account numbers existing

immediately before the Petition Date, (c) honor any prepetition obligations related to the Cash

Management System in the ordinary course of business, and (d) pay any ordinary course Bank

Fees , including fees associated with treasury management and merchant services, incurred in

connection with the Bank Accounts, treasury management services, and merchant services, in each

case incurred in connection with the Bank Accounts, irrespective of whether such fees arose prior

to the Petition Date, and perform their obligations under the documents and arrangements

governing the Bank Accounts. The Debtors may make ordinary course changes to their Cash

Management System, absent further order of this Court, as consistent with this Interim Order. Any

post-petition fees, costs, charges, expenses, charge backs, or other reimbursement or payment

obligations that are not paid in accordance herewith, are hereby accorded priority as administrative

expenses pursuant to section 503(b)(1) of the Bankruptcy Code.

         5.    Those agreements existing between the Debtors and each Cash Management Bank

shall continue to govern the post-petition cash management relationship between the Debtors and

each Cash Management Bank and all of the provisions of such agreements, including the

termination, fee provisions, rights, benefits, collateral, and offset rights, and remedies afforded

under such agreements shall remain in full force and effect absent further order of the Court or,

with respect to any such agreement with such Cash Management Bank (including, for the

avoidance of doubt, any rights of the Cash Management Banks to use funds from the Bank

Accounts to remedy any overdraft of another Bank Account or other cash management obligations,

whether prepetition or postpetition, to the extent permitted under the applicable agreement), unless



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the Debtors and Cash Management Banks agree otherwise, and any other legal rights and remedies

afforded to Cash Management Banks under applicable law shall be preserved.

         6.    The Debtors are authorized to use their Business Forms, including checks, without

alteration and without the designation “debtor in possession” imprinted upon them; provided, that,

once the Debtors’ existing check stock and/or business forms have been used, the Debtors shall

when reordering checks or Business Forms, include the designation “Debtor in Possession” and

the jointly administered bankruptcy case number on such checks and Business Forms; provided,

further, that, with respect to checks or Business Forms which the Debtors or their agents print

themselves, the Debtors shall, when printing checks or Business Forms, include the “Debtor in

Possession” legend and the jointly administered bankruptcy case number on such checks and

Business Forms starting within 10 business days of the date of entry of this Interim Order.

         7.    The Cash Management Banks are authorized, but not directed, to continue to

maintain, service, and administer the Bank Accounts as accounts of the Debtors as debtors in

possession without interruption and in the ordinary course and to receive, process, honor, and pay,

to the extent of available funds, any and all checks, drafts, wires, ACH transfers, and other

electronic transfers of any kind issued and drawn on the Bank Accounts after the Petition Date by

the holders or makers thereof, as the case may be (including the completion of any such transaction

commenced on or before the Petition Date but not completed until on or after the Petition Date).

         8.    The Debtors are authorized, in the ordinary course of business, to open any new

bank accounts or close any existing Bank Accounts as they may deem necessary and appropriate,

provided, however, that the Debtors give notice within fifteen (15) days of opening or closing a

Bank Account, to the U.S. Trustee and any statutory committee appointed in these chapter 11

cases, provided further that the Debtors shall open any new Bank Account at a bank that has



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executed a Uniform Depository Agreement with the Office of the United States Trustee for the

District of Delaware.

         9.    The relief granted in this Interim Order is extended to any new bank account opened

by the Debtors after the date hereof, which account shall be deemed a Bank Account, and to any

Additional Cash Management Bank (as hereinafter defined) at which such account is opened

including any new bank account opened for the purpose of separately maintaining the proceeds of

the Debtors' prepetition and post-petition term loan debt..

         10.   In the course of providing cash management services to the Debtors, the Cash

Management Banks and each Additional Cash Management Bank is authorized, without further

order of the Court, to deduct the applicable fees and expenses associated with the nature of the

deposit and cash management services rendered to the Debtors, whether arising prepetition or post-

petition, from the appropriate accounts of the Debtors, and further, to charge back to, and take and

apply reserves from, the appropriate accounts of the Debtors any amounts resulting from returned

checks or other returned items, including returned items that result from ACH transactions, wire

transfers, merchant services transactions or other electronic transfers of any kind, regardless of

whether such items were deposited or transferred prepetition or post-petition and regardless of

whether the returned items relate to prepetition or post-petition items or transfers.

         11.   Notwithstanding any other provision of this Interim Order, the Cash Management

Banks shall not be deemed to be nor shall be liable to the Debtors or their estates or otherwise be

in violation of this Interim Order if a Cash Management Bank honors a prepetition check or other

item drawn on any account that is the subject of this Interim Order: (a) at the direction of the

Debtors, (b) in a good-faith belief that the Court has authorized such prepetition check or item to

be honored, or (c) as a result of an innocent mistake made despite implementation of customary



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item handling procedures. Without limiting the foregoing, a Cash Management Bank may assume

that any check or other payment order drawn or issued by the Debtors prior to the Petition Date

should be honored pursuant to this Order unless otherwise specifically otherwise advised by the

Debtors, and a Cash Management Bank shall not have any liability to any party for relying on

representations by the Debtors as provided for herein.

         12.   The Cash Management Banks are authorized to debit the Debtors’ accounts in the

ordinary course of business without the need for further order of the Court for: (a) all checks drawn

on the Debtors’ accounts which are cashed at the Cash Management Bank’s counters or exchanged

for cashier’s checks by the payees thereof prior to the Petition Date, (b) all checks or other items

deposited in one of the Debtors’ accounts with the Cash Management Bank prior to the Petition

Date which have been dishonored or returned unpaid for any reason, together with any fees and

costs in connection therewith, to the same extent the Debtors were responsible for such items prior

to the Petition Date, (c) all undisputed prepetition amounts outstanding as of the date hereof, if

any, owed to the Cash Management Bank as service charges for the maintenance of Cash

Management System, and (d) all reversals, returns, refunds, and chargebacks of checks, deposited

items, and other debits credited to Debtor’s account after the Petition Date, regardless of the reason

such item is returned or reversed.

         13.   Immediately upon entry of this Interim Order, Cash Management Banks are

authorized, but not obligated, without further order of this Court, to recommence such transfers or

sweeps without regard to whether the funds swept and/or transferred include funds deposited prior

to the Petition Date.




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         14.   Despite the use of a consolidated Cash Management System, the Debtors shall

calculate quarterly fees under 28 U.S.C. § 1930(a)(6) based on the disbursements of each Debtor,

regardless of who pays those disbursements.

         15.   The requirement to establish separate bank accounts for cash collateral and/or tax

payments is hereby waived.

         16.   The Debtors are authorized, but not directed, to issue post-petition checks or to

effect post-petition fund transfer requests in replacement of any checks or fund transfer requests

that are dishonored as a consequence of these chapter 11 cases with respect to prepetition amounts

owed in connection with the relief granted herein.

         17.   The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

         18.   Notice of the Motion as provided therein shall be deemed good and sufficient and

satisfies the requirements of Bankruptcy Rule 6004(a) and the Local Rules.

         19.   Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

         20.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

         21.   This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.




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                                            Exhibit 1

                                         Bank Accounts

                                                         Last Four
                                                         Digits of
  #                          Debtor                      Account #     Type of Account
   1         Williams Industrial Services Group Inc        0432      Concentration Account
   2         Williams Industrial Services Group Inc        0424              Payroll
   3         Williams Industrial Services Group Inc        0459        Accounts Payable
   4         Williams Industrial Services Group Inc        2032        Operating Account
   5         Williams Industrial Services Group LLC        1558              Payroll
   6         Williams Industrial Services Group LLC        1574      Master Funding Account
   7         Williams Industrial Services Group LLC        1566        Accounts Payable
   8            Williams Industrial Services LLC           1294       Segregated Bonded
                                                                      Accounts Receivable
   9       Williams Industrial Services LLC                1961              Payroll
  10       Williams Industrial Services LLC                1996       Collection Account
  11       Williams Industrial Services LLC                1988        Accounts Payable
  12 Construction & Maintenance Professionals LLC          1873              Payroll
  13 Construction & Maintenance Professionals LLC          1881        Accounts Payable
  14             Steam Enterprises LLC                     1902        Operating Account
  15        Williams Specialty Services LLC                1929              Payroll
  16        Williams Specialty Services LLC                1953         Payroll (Manual)
  17        Williams Specialty Services LLC                1945       Collection Account
  18        Williams Specialty Services LLC                1937        Accounts Payable
  19          Williams Plant Services LLC                  2008              Payroll
  20          Williams Plant Services LLC                  2016        Accounts Payable
  21          Williams Plant Services LLC                  2024       Collection Account
  22          Williams Plant Services LLC                  1366       Segregated Bonded
                                                                      Accounts Receivable
  23                 WISG Electrical LLC                   8686        Accounts Payable
  24                 WISG Electrical LLC                   8678              Payroll
  25                  WISG Canada Ltd                      2616              General




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                                      Exhibit C

                                 Proposed Final Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                     Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.,1                                                Case No. 23-10961

                                                                     (Jointly Administered)
             Debtors.
                                                                     Re: Docket No. _______


    FINAL ORDER (I) AUTHORIZING CONTINUED USE OF PREPETITION BANK
      ACCOUNTS, CASH MANAGEMENT SYSTEM, FORMS, AND BOOKS AND
              RECORDS AND (II) GRANTING RELATED RELIEF

          This matter is before the Court on the Emergency Motion for Entry of Interim and Final

Orders (I) Authorizing Continued Use of Prepetition Bank Accounts, Cash Management System,

Forms, and Books and Records and (II) Granting Related Relief (the “Motion”) [Docket No. __]

of the above-captioned debtors and debtors in possession (collectively, the “Debtors”). The

Debtors’ existing Bank Accounts2 are listed on Exhibit 1 hereto and made a part hereof. This

Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found

that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.
2 All capitalized terms used but not defined herein shall have the meanings given them in the Motion.



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appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion, the First Day Declaration accompanying the Motion, and at

the Hearing establish just cause for the relief granted herein; and any objections to the Motion

having been withdrawn, resolved, or overruled; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

         1.    The Motion is GRANTED on a final basis as set forth herein.

         2.    The Debtors are authorized, but not directed, on a final basis and in their sole

discretion, to: (a) continue operating Cash Management System, (b) continue to use the Bank

Accounts in existence as of the Petition Date, in the names and with the account numbers existing

immediately before the Petition Date, (c) honor any prepetition obligations related to the Cash

Management System in the ordinary course of business, and (d) pay any ordinary course Bank

Fees , including fees associated with treasury management and merchant services, incurred in

connection with the Bank Accounts, treasury management services, and merchant services, in each

case incurred in connection with the Bank Accounts, irrespective of whether such fees arose prior

to the Petition Date, and perform their obligations under the documents and arrangements

governing the Bank Accounts.

         3.    Those agreements existing between the Debtors and each Cash Management Bank

shall continue to govern the post-petition cash management relationship between the Debtors and

each Cash Management Bank and all of the provisions of such agreements, including the

termination, fee provisions, rights, benefits, collateral, and offset rights, and remedies afforded



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under such agreements shall remain in full force and effect absent further order of the Court or,

with respect to any such agreement with such Cash Management Bank (including, for the

avoidance of doubt, any rights of the Cash Management Banks to use funds from the Bank

Accounts to remedy any overdraft of another Bank Account or other cash management obligations,

whether prepetition or post-petition, to the extent permitted under the applicable agreement),

unless the Debtors and Cash Management Banks agree otherwise, and any other legal rights and

remedies afforded to Cash Management Banks under applicable law shall be preserved.

         4.    The Debtors are authorized to use their Business Forms, including checks, without

alteration and without the designation “debtor in possession” imprinted upon them; provided, that,

once the Debtors’ existing check stock and/or business forms have been used, the Debtors shall

when reordering checks or Business Forms, include the designation “Debtor in Possession” and

the jointly administered bankruptcy case number on such checks and Business Forms; provided,

further, that, with respect to checks or Business Forms which the Debtors or their agents print

themselves, the Debtors shall, when printing checks or Business Forms, include the “Debtor in

Possession” legend and the jointly administered bankruptcy case number on such checks and

Business Forms.

         5.    The Cash Management Banks are authorized, but not directed, to continue to

maintain, service, and administer the Bank Accounts as accounts of the Debtors as debtors in

possession without interruption and in the ordinary course and to receive, process, honor, and pay,

to the extent of available funds, any and all checks, drafts, wires, ACH transfers, and other

electronic transfers of any kind issued and drawn on the Bank Accounts after the Petition Date by

the holders or makers thereof, as the case may be (including the completion of any such transaction

commenced on or before the Petition Date but not completed until on or after the Petition Date).



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         6.    The Debtors are authorized, in the ordinary course of business, to open any new

bank accounts or close any existing Bank Accounts as they may deem necessary and appropriate,

provided, however, that the Debtors give notice within fifteen (15) days of opening or closing a

Bank Account, to the U.S. Trustee and any statutory committee appointed in these chapter 11

cases, provided further that the Debtors shall open any new Bank Account at a bank that has

executed a Uniform Depository Agreement with the Office of the United States Trustee for the

District of Delaware.

         7.    The relief granted in this Final Order is extended to any new bank account opened

by the Debtors after the date hereof, which account shall be deemed a Bank Account, and to any

Additional Cash Management Bank (as hereinafter defined) at which such account is opened

including any new bank account opened for the purpose of separately maintaining the proceeds of

the Debtors' prepetition and post-petition term loan debt..

         8.    In the course of providing cash management services to the Debtors, the Cash

Management Banks and each Additional Cash Management Bank is authorized, without further

order of the Court, to deduct the applicable fees and expenses associated with the nature of the

deposit and cash management services rendered to the Debtors, whether arising prepetition or post-

petition, from the appropriate accounts of the Debtors, and further, to charge back to, and take and

apply reserves from, the appropriate accounts of the Debtors any amounts resulting from returned

checks or other returned items, including returned items that result from ACH transactions, wire

transfers, merchant services transactions or other electronic transfers of any kind, regardless of

whether such items were deposited or transferred prepetition or post-petition and regardless of

whether the returned items relate to prepetition or post-petition items or transfers.




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         9.    Notwithstanding any other provision of this Final Order, the Cash Management

Banks shall not be deemed to be nor shall be liable to the Debtors or their estates or otherwise be

in violation of this Final Order if a Cash Management Bank honors a prepetition check or other

item drawn on any account that is the subject of this Final Order: (a) at the direction of the Debtors,

(b) in a good-faith belief that the Court has authorized such prepetition check or item to be honored,

or (c) as a result of an innocent mistake made despite implementation of customary item handling

procedures. Without limiting the foregoing, a Cash Management Bank may assume that any check

or other payment order drawn or issued by the Debtors prior to the Petition Date should be honored

pursuant to this Order unless otherwise specifically otherwise advised by the Debtors, and a Cash

Management Bank shall not have any liability to any party for relying on representations by the

Debtors as provided for herein.

         10.   The Cash Management Banks are authorized to debit the Debtors’ accounts in the

ordinary course of business without the need for further order of the Court for: (a) all checks drawn

on the Debtors’ accounts which are cashed at the Cash Management Bank’s counters or exchanged

for cashier’s checks by the payees thereof prior to the Petition Date, (b) all checks or other items

deposited in one of the Debtors’ accounts with the Cash Management Bank prior to the Petition

Date which have been dishonored or returned unpaid for any reason, together with any fees and

costs in connection therewith, to the same extent the Debtors were responsible for such items prior

to the Petition Date, (c) all undisputed prepetition amounts outstanding as of the date hereof, if

any, owed to the Cash Management Bank as service charges for the maintenance of Cash

Management System, and (d) all reversals, returns, refunds, and chargebacks of checks, deposited

items, and other debits credited to Debtor’s account after the Petition Date, regardless of the reason

such item is returned or reversed.



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         11.   Immediately upon entry of this Final Order, Cash Management Banks are

authorized, but not obligated, without further order of this Court, to continue such transfers or

sweeps without regard to whether the funds swept and/or transferred include funds deposited prior

to the Petition Date.

         12.   Despite the use of a consolidated Cash Management System, the Debtors shall

calculate quarterly fees under 28 U.S.C. § 1930(a)(6) based on the disbursements of each Debtor,

regardless of who pays those disbursements.

         13.   The requirement to establish separate bank accounts for cash collateral and/or tax

payments is hereby waived.

         14.   The Debtors are authorized, but not directed, to issue post-petition checks or to

effect post-petition fund transfer requests in replacement of any checks or fund transfer requests

that are dishonored as a consequence of these chapter 11 cases with respect to prepetition amounts

owed in connection with the relief granted herein.

         15.   The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

         16.   Notice of the Motion as provided therein shall be deemed good and sufficient and

satisfies the requirements of Bankruptcy Rule 6004(a) and the Local Rules.

         17.   Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

Order are immediately effective and enforceable upon its entry.

         18.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion.

         19.   This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Final Order.




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                                            Exhibit 1

                                         Bank Accounts

                                                         Last Four
                                                         Digits of
  #                          Debtor                      Account #     Type of Account
   1         Williams Industrial Services Group Inc        0432      Concentration Account
   2         Williams Industrial Services Group Inc        0424              Payroll
   3         Williams Industrial Services Group Inc        0459        Accounts Payable
   4         Williams Industrial Services Group Inc        2032        Operating Account
   5         Williams Industrial Services Group LLC        1558              Payroll
   6         Williams Industrial Services Group LLC        1574      Master Funding Account
   7         Williams Industrial Services Group LLC        1566        Accounts Payable
   8            Williams Industrial Services LLC           1294       Segregated Bonded
                                                                      Accounts Receivable
   9       Williams Industrial Services LLC                1961              Payroll
  10       Williams Industrial Services LLC                1996       Collection Account
  11       Williams Industrial Services LLC                1988        Accounts Payable
  12 Construction & Maintenance Professionals LLC          1873              Payroll
  13 Construction & Maintenance Professionals LLC          1881        Accounts Payable
  14             Steam Enterprises LLC                     1902        Operating Account
  15        Williams Specialty Services LLC                1929              Payroll
  16        Williams Specialty Services LLC                1953         Payroll (Manual)
  17        Williams Specialty Services LLC                1945       Collection Account
  18        Williams Specialty Services LLC                1937        Accounts Payable
  19          Williams Plant Services LLC                  2008              Payroll
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  22          Williams Plant Services LLC                  1366       Segregated Bonded
                                                                      Accounts Receivable
  23                 WISG Electrical LLC                   8686        Accounts Payable
  24                 WISG Electrical LLC                   8678              Payroll
  25                  WISG Canada Ltd                      2616              General




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